Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                      Case No. 1:21cv21833

   Julio C. Marrero, a citizen of the State of
   Florida,

             Plaintiff

   vs.

   Edgefield Holdings, LLC, a Delaware
   limited liability company, John R.
   Sprague, a citizen of the State of South
   Carolina, Rustown Homes, Inc., a Texas
   corporation, and Michael B. Saraceno,
   Jr., a citizen of the State of Pennsylvania


         Defendants
   ___________________________________/

                                      COMPLAINT
                         TO RECOVER DAMAGES AND OTHER RELIEF

         Plaintiff, Julio C. Marrero, a citizen of the State of Florida, by and through undersigned

  counsel, files this Complaint to Recover Damages and Other Relief (the “Complaint”), directed

  against Defendants’ Edgefield Holdings, LLC, a Delaware limited liability company (as to

  Counts I, II, and III, seeking declaratory relief and damages), and directed against John R.

  Sprague a citizen of the State of South Carolina, Rustown Homes, Inc., a Texas corporation,

  and Michael B. Saraceno, Jr. a citizen of the State of Pennsylvania (as to Count III only,

  seeking declaratory relief only, and not seeking damages), and alleges in support thereof as

  follows:




                                              1 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 2 of 12




                              I.     PROCEDURAL BACKGROUND

                 A.      Parties

         2.      The Plaintiff Julio C. Marrero (“Marrero”), is, and at all times material was, a

  resident of Miami-Dade County, and a citizen of the State of Florida.

         3.      The Defendant Edgefield Holdings, LLC, a Delaware limited liability company

  (“Edgefield”), is, and at all times material was, a Delaware limited liability company, with its

  principal place of business in Delaware, and, furthermore, Edgefield’s sole member, Daniel R.

  Gower, is a citizen of the State of Georgia.[1]

         4.      The Defendant John R. Sprague (“Sprague”), is, and at all times material was, a

  resident of the State of South Carolina, and a citizen of the State of South Carolina.[2]

         5.      The Defendant Rustown Homes, Inc., a Texas corporation (“Rustown Homes”),

  is, and at all times material was, a Texas corporation, with its state of incorporation and principal

  place of business being in Texas, and is a citizen of the State of Texas.[3]

         6.      The Defendant Michael B. Saraceno, Jr., (“Saraceno”), is, and at all times

  material was, a resident of the State of Pennsylvania, and a citizen of the State of Pennsylvania.




         1
           See Quest Systems, LLC, v. Deutsche Bank National Trust Company, 8:21-CV-623-
  VMC-CPT, 2021 WL 1733309, at *1 (M.D. Fla. May 3, 2021) (“[A] limited liability company
  [(‘LLC’)] is a citizen of any state of which a member of the company is a citizen.”) (Citing Rolling
  Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004).
         2
            See Quest Systems, LLC, at *1 (“When jurisdiction is premised upon diversity of
  citizenship, 28 U.S.C. § 1332(a) requires, among other things, that the parties be ‘citizens of
  different States.’ ”) (Citing Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d
  1020, 1022 (11th Cir. 2004).
         3
           See Id. (“A corporation's citizenship is determined by its state of incorporation and its
  principal place of business.”) (Citing Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C.,
  374 F.3d 1020, 1022 (11th Cir. 2004).
                                                    2 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 3 of 12




                 B.      Jurisdiction

         7.      The United States District Court for the Southern District of Florida has jurisdiction

  over this action pursuant to 28 U.S.C. § 1332. Pursuant to that section, “district courts shall have

  original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

  of $75,000, exclusive of interest and costs, and is between...citizens of different States.” See 28

  U.S.C. § 1332(a).[4]

         8.      Further, this Court has supplemental jurisdiction over Plaintiff’s state law claims

  pursuant to 28 U.S.C § 1367.

                 C.      Venue

         9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2), because this

  United States District Court for the Southern District of Florida, Miami Division, is the “judicial

  district in which a substantial part of the events or omissions giving rise to the claim occurred, or

  a substantial part of property that is the subject of the action is situated”. See 28 U.S.C. §

  1391(b)(2).

                                 II.    FACTUAL ALLEGATIONS

         10.     On May 10, 2021, the Defendant Edgefield published an unrecorded Assignment

  of Judgments and Loan Documents (the “Assignment”), making the publication in Miami-Dade

  County, Florida. See Exhibit “1”.




         4
            This is an independent cause of action not removed from any pending state court action,
  such that diversity is not being applied from a case that has been removed to Federal Court, from
  state court. See Id. (“When a defendant removes an action to federal court on diversity grounds, a
  court must remand the matter to state court if complete diversity is lacking between the parties[.]”
  CSDVRS, LLC v. Purple Commc'ns, Inc., 979 F. Supp. 2d 1302, 1305 (M.D. Fla. 2013). “[A]ll
  doubts about the propriety of removal should be resolved in favor of remand.” King v. Gov't Emps.
  Ins. Co., 579 F. App'x 796, 800 (11th Cir. 2014). The removing party “bears the burden of proving
  that federal jurisdiction exists.”)
                                                3 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 4 of 12




         11.     The Assignment purports to be made by, “Truist Bank, formerly known as Branch

  Banking and Trust Company, a North Carolina corporation” (“Truist-BBT”), and purports to be in

  favor of the Defendant Edgefield. See Assignment, p. 1.

         12.     The Assignment is not recorded in the Public Records of Miami-Dade County.

         13.     The Assignment is not verified, sworn to, or accompanied by any affidavit attesting

  to its authenticity as being made by any individual with personal knowledge.

         14.     The Assignment is not accompanied by any publication, filing, recorded document,

  or certificate evidencing that Branch Banking and Trust Company is now known as Truist Bank.[5]

         15.     The Assignment is made by Truist-BBT, “without recourse or representation or

  warranty, express, implied or by operation of law, of any kind and nature whatsoever.” See

  Assignment, p. 1.

         16.     The Assignment only assigns the “documents and rights” of Branch Banking and

  Trust Company, to the extent any such “documents and rights” even exist. See Assignment, p. 1.

         17.     The Assignment only assigns the “documents and rights” of Branch Banking and

  Trust Company, to the extent defined in a “Purchase Agreement” neither affixed to or otherwise

  defined in the Assignment (the “PSA”), to the extent any such “documents and rights” even exist

  in that PSA. See Assignment, p. 1.

         18.     The Assignment exhibits numerous judgments and loan documents purportedly

  assigned, for various borrowers, guarantors, and obligors, across the United States, including but




         5
           See Brandenburg v. Residential Credit Sols., Inc., 137 So. 3d 604, 605–06 (Fla. 4th DCA
  2014) (Filing of “certificate showing that Ohio Savings Bank had changed its name to Amtrust”
  required under Florida law for assignment to bestow standing.)



                                               4 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 5 of 12




  not limited to Defendants Sprague (as to South Carolina), Rustown Homes (as to Texas), Saraceno

  (as to Pennsylvania), and the Plaintiff (as to Florida). See Assignment, pp. 2-8.

         19.     As to Defendant Sprague, the subject “documents and rights” pertained to account

  number ending in 1760016, in case number 2011-CP-25-118, pending in the County of Hampton

  South Carolina (the “Sprague Assignment”).

         20.     As to Defendant Rustown Homes, the subject “documents and rights” pertained to

  account number ending in 86150, in case number DC-09-00063-B, pending in the County of

  Dallas, Texas (the “Rustown Homes Assignment”).

         21.     As to Defendant Saraceno, the subject “documents and rights” pertained to account

  number ending in 93190, in case number 2011-N-846, pending in the County of Lehigh,

  Pennsylvania (the “Saraceno Assignment”).

         22.     As to the Plaintiff, the subject “documents and rights” pertained to account number

  ending in 160001, in case number 10-8134-CA-03, pending in the Miami-Dade County, Florida.

  (the “Marrero Assignment”).

         23.     As to the Marrero Assignment, the Assignment falsely publishes that “Loan

  Documents” were assigned, because Branch Banking and Trust Company surrendered and

  cancelled all of the subject loan documents comprising any and all loans involving the Plaintiff

  (the “Cancelled Loan Documents”). See Exhibit “2” attached hereto.

         24.     Further, as to the Marrero Assignment, the Assignment falsely publishes that a valid

  guaranty judgment was assigned, or that any valid guaranty judgment exists, because Branch

  Banking and Trust Company affirmatively, voluntarily, and irrevocably waived any and all

  entitlement to any guaranty judgment, rendering any guaranty judgment unenforceable, when it




                                                5 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 6 of 12




  intentionally failed to seek amendment thereof prior to the absolute 1-year limitation period to do

  so.

         25.     Edgefield is not the holder in due course of any guaranty judgment pertaining to

  the Marrero Assignment.[6]

         26.     The same infirmities and defects which plague the Marrero Assignment, including

  but not limited to the same false publications and failure to assign any valid and/or enforceable

  judgments and loan documents, are also applicable to the Sprague Assignment, the Rustown

  Homes Assignment, and the Saraceno Assignment.

                                             COUNT I
                               Declaratory Action Pursuant to the
                   Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et seq.
               (Directed Against Edgefield, Sprague, Rustown Homes, and Saraceno)

         27.     The Plaintiff re-alleges paragraphs 1 through 26, as if fully set forth herein and

  further allege the following.

         28.     This is an action under the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, et

  seq. (the “Declaratory Judgment Act”), in the district court, seeking a declaration of rights as to

  the Assignment, including the Sprague Assignment, the Rustown Homes Assignment, and the

  Saraceno Assignment, that:

                 a.      The Assignment to Edgefield makes no assignment of any existing
                         rights.;

                 b.      The Assignment to Edgefield makes no assignment of any valid and
                         enforceable loan documents.;

                 c.      The Assignment to Edgefield makes no assignment of any valid and
                         enforceable judgments.;


         6
          To be a holder in due course an assignee must “take the instrument”, in “good faith”, and,
  “without notice that any party has a defense or claim in recoupment described in s. 673.3051(1)”.
  See § 673.3021(b), Fla Stat.

                                               6 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 7 of 12




                 d.      Even if recorded in the public records, the Assignment to Edgefield
                         would still make no assignment of any existing rights, enforceable loan
                         documents, and/or enforceable judgments.;

                 e.      Even if verified, sworn to, or accompanied by any affidavit attesting to
                         its authenticity as being made by any individual with personal
                         knowledge, the Assignment to Edgefield would still make no
                         assignment of any existing rights, enforceable loan documents, and/or
                         enforceable judgments.;

                 f.      Even if accompanied by any publication, filing, recorded document, or
                         certificate evidencing that Branch Banking and Trust Company is now
                         known as Truist Bank, the Assignment to Edgefield would still make
                         no assignment of any existing rights, enforceable loan documents,
                         and/or enforceable judgments.;

                 g.      Even if the Assignment was made by Truist-BBT, with recourse or
                         representation or warranty, express, implied or by operation of law, of
                         any kind and nature whatsoever, the Assignment to Edgefield would
                         still make no assignment of any existing rights, enforceable loan
                         documents, and/or enforceable judgments.;

                 h.      Even if the “Purchase Agreement” were affixed to or otherwise defined
                         in the Assignment, the Assignment to Edgefield would still make no
                         assignment of any existing rights, enforceable loan documents, and/or
                         enforceable judgments.;

                 i.      Edgefield holds no rights to assert with respect to the Assignment,
                         including as to Sprague, Rustown Homes, Saraceno, and the Plaintiff.

         29.     There is no other suit pending involving the same parties, adjudication of the

  same facts, and adjudication of the same legal issues, as raised herein.[7]



         7
            See Employers Mut. Cas. Co. v. Kenny Hayes Custom Homes, LLC., 101 F. Supp. 3d
  1186, 1190 (S.D. Ala. 2015) (“The Builders' assertion that the federal and state court proceedings
  are parallel, while supported by the fact that the parties involved in the case are the same, fails on
  account of the distinct factual questions involved in the federal and state proceedings. What exists
  here are not parallel state court proceedings, but merely related state court proceedings. See Essex
  Ins. Co. v. Foley, 2011 WL 290423, at *2 (S.D.Ala. Jan. 27, 2011). This lack of parallelism weighs
  strongly against this Court's dismissal of the declaratory judgment action. “In such circumstances,
  courts have shown marked reluctance to exercise their discretion to stay or dismiss the declaratory
  judgment action.” State Farm Fire & Cas. Co. v. Knight, 2010 WL 551262, *3 (S.D.Ala. Feb. 11,
  2010). Even if the Ameritas analysis were fully applicable in the absence of actual parallel
  litigation in state court, the Court finds dismissal or a stay is unwarranted here. While there are (or
                                                 7 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 8 of 12




         30.     There is no other suit pending which would involving the interpretation of South

  Carolina law, as to the Sprague Assignment, interpretation of Texas law, as to the Rustown

  Homes Assignment, and Pennsylvania law, as to the Saraceno Assignment.[8]

                                             COUNT II
                                    Fraud and Misrepresentation
                                     (Directed Against Edgefield)

         31.     The Plaintiff re-alleges paragraphs 1 through 26, as if fully set forth herein and

  further allege the following.

         32.     This is a count for common law fraud and misrepresentation, brought on behalf of

  Plaintiff, directed against Edgefield.

         33.     Edgefield has intentionally made misrepresentations and/or numerous omissions,

  concerning specific material facts, in undertaking a scheme to defraud, directed and intended to


  may be) common facts between the two cases, the legal issues presented are entirely distinct. As
  such, the interests of federalism, comity and efficiency on which Wilton/Brillhart abstention are
  founded are not directly implicated here.”) (Internal citation omitted.)
         8
             See Milford Cas. Ins. Co. v. Meeks, 20-13500, 2021 WL 1593271, at *3 (11th Cir. Apr.
  23, 2021) (“The district court held that the balance of the relevant factors weighed in favor of
  retaining jurisdiction over Milford's declaratory judgment action. This was not an abuse of
  discretion. To begin, it is undisputed that Kentucky law governs here because the Policy was issued
  and delivered in Kentucky. For that reason, we agree with the district court that factors one, five,
  eight, and nine weigh in favor of retaining jurisdiction. The Georgia Superior Court, where Meeks's
  state action is pending, has no stronger interest in interpreting Kentucky law than does the federal
  court. Neither is the Georgia Superior Court better positioned to evaluate Kentucky law and apply
  it to the facts of this case. Meeks's arguments do not show the district court abused its discretion.
  Meeks says the fourth factor weighs in favor of declining jurisdiction because Milford's declaratory
  judgment action is “being used to provide an arena for a race for res judicata in a case not otherwise
  removable” and points to the fact that Milford recognized the res judicata effect the federal
  decision would have. He also argues that the state court is more familiar with the facts and thus
  better able to evaluate them, making factors seven and eight weigh in his favor. However, even if
  we were to agree with Meeks that some factors weigh in favor of declining jurisdiction, that would
  not lead us to conclude the district court abused its discretion. As noted above, we think factors
  one, five, eight, and nine weigh in favor of retaining jurisdiction. And the district court adequately
  considered factors four and seven when reaching its decision. Therefore, the court neither “made
  a clear error of judgment” nor “applied the wrong legal standard.”)

                                                 8 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 9 of 12




  harm the Plaintiff (and also directed to and harming the Defendants Sprague, Rustown Homes,

  and Saraceno), including but not limited to:

                 a.     Intentionally making misrepresentations and/or omissions that the
                        Assignment to Edgefield makes a valid assignment of existing rights.;

                 b.     Intentionally making misrepresentations and/or omissions that the
                        Assignment to Edgefield makes an assignment of valid and enforceable
                        loan documents.;

                 c.     Intentionally making misrepresentations and/or omissions that the
                        Assignment to Edgefield makes an assignment of valid and enforceable
                        judgments.;

                 d.     Intentionally making misrepresentations and/or omissions that
                        Edgefield holds rights to assert with respect to the Assignment,
                        including as to Sprague, Rustown Homes, Saraceno, and the Plaintiff,
                        when Edgefield holds no such rights.

         34.     The Assignment to Edgefield was not verified, sworn to, or accompanied by any

  affidavit attesting to it by any individual with personal knowledge, because no such verification,

  swearing to, or affidavit can be made vis-à-vis Edgefield’s above intentional misrepresentations

  and/or numerous omissions, concerning specific material facts, in undertaking a scheme to

  defraud.

         35.     The Assignment to Edgefield was given without recourse or representation or

  warranty, express, implied or by operation of law, of any kind and nature whatsoever, because no

  such representations, warranties, express or implied can be made vis-à-vis Edgefield’s above

  intentional misrepresentations and/or numerous omissions, concerning specific material facts, in

  undertaking a scheme to defraud.

         36.     Edgefield has specific knowledge that these misrepresentations are untrue.




                                                 9 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 10 of 12




         37.     Edgefield intended these misrepresentations to serve as the basis to seek financial

  information and documents, which are otherwise privileged and which Edgefield is not entitled to,

  from the Plaintiff.

         38.     Plaintiff has suffered damages exceeding $75,000.00, as a result of Edgefield’s

  intentionally making misrepresentations and/or numerous omissions, concerning specific material

  facts, in undertaking a scheme to defraud, directed and intended to harm the Plaintiff (and also

  directed to and harming the Defendants Sprague, Rustown Homes, and Saraceno).

                                          COUNT III
                  Defamation (Slander, Slander Per Se, Libel, and Libel Per Se)
                                  (Directed Against Edgefield)

         39.     The Plaintiff re-alleges paragraphs 1 through 26, as if fully set forth herein and

  further allege the following.

         40.     This is a count for common law defamation (slander, slander per se, libel, and libel

  per se), brought on behalf of Plaintiff, directed against Edgefield.

         41.     Edgefield has intentionally published false statements to third parties, directed and

  intended to harm the Plaintiff (and also directed to and harming the Defendants Sprague, Rustown

  Homes, and Saraceno), including but not limited to:

                 a.      Intentionally publishing the false statement that the Assignment to
                         Edgefield makes a valid assignment of existing rights.;

                 b.      Intentionally publishing the false statement that the Assignment to
                         Edgefield makes an assignment of valid and enforceable loan
                         documents.;

                 c.      Intentionally publishing the false statement that the Assignment to
                         Edgefield makes an assignment of valid and enforceable judgments.;

                 d.      Intentionally publishing the false statement that Edgefield holds rights
                         to assert with respect to the Assignment, including as to Sprague,
                         Rustown Homes, Saraceno, and the Plaintiff, when Edgefield holds no
                         such rights.

                                                10 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 11 of 12




         42.     The Assignment to Edgefield was not verified, sworn to, or accompanied by any

  affidavit attesting to it by any individual with personal knowledge, because no such verification,

  swearing to, or affidavit can be made vis-à-vis Edgefield’s above intentional misrepresentations

  and/or numerous omissions, concerning specific material facts, in undertaking a scheme to

  defraud.

         43.     The Assignment to Edgefield was given without recourse or representation or

  warranty, express, implied or by operation of law, of any kind and nature whatsoever, because no

  such representations, warranties, express or implied can be made vis-à-vis Edgefield’s above

  intentional misrepresentations and/or numerous omissions, concerning specific material facts, in

  undertaking a scheme to defraud.

         44.     Edgefield has specific knowledge that these misrepresentations are untrue.

         45.     Plaintiff has suffered damages exceeding $75,000.00, as a result of Edgefield’s

  intentionally publishing these false statements, intended to harm the Plaintiff (and also directed to

  and harming the Defendants Sprague, Rustown Homes, and Saraceno).

                                      PRAYER FOR RELIEF

         Plaintiffs request the following relief:

                 a.      The declaratory relief described in Count I above, directed to the
                         Defendants Edgefield, Sprague, Rustown Homes, and Saraceno.;

                 b.      A jury trial and judgment against the Defendant Edgefield, as to
                         Counts II and III.;

                 c.      General, actual, and compensatory damages against the Defendant
                         Edgefield, as to Counts II and III.;

                 d.      The cost of suit, including reasonable attorneys’ fees, and costs against
                         the Defendant Edgefield, as to Counts II and III.;




                                                11 of 12
Case 1:21-cv-21833-FAM Document 1 Entered on FLSD Docket 05/14/2021 Page 12 of 12




               e.        Pre-judgment and post-judgment interest at the maximum rate
                         permitted by applicable law against the Defendant Edgefield, as to
                         Counts II and III.; and

               f.        Such other relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

                    Plaintiff hereby demands a jury trial as to all claims so triable.

        Respectfully submitted, this 14th day of May, 2021.

                                                        By: /s/ Julio C. Marrero
                                                        Julio C. Marrero, Esq.
                                                        Florida Bar Number: 784664

                                                        MARRERO, CHAMIZO, MARCER
                                                        LAW, LP
                                                        Attorney for the Plaintiff
                                                        3850 Bird Road, Penthouse One
                                                        Coral Gables, FL 33146
                                                        julio@marrerolawfirm.com
                                                        Telephone: (305) 446-0163
                                                        Facsimile: (305) 444-5538

                                                        By: /s/ Julio C. Marrero
                                                        Julio C. Marrero, Esq.
                                                        Florida Bar Number: 784664




                                                12 of 12
